1

2

3

4

5

6                              UNITED STATES DISTRICT COURT

7                                      DISTRICT OF NEVADA

8                                                 ***

9     JARRETT MILLER,                                      Case No. 2:20-cv-02125-GMN-VCF
10                                        Plaintiff,               ORDER
             v.
11
      CALVIN JOHNSON,
12
                                     Defendants.
13

14

15
     I.     DISCUSSION
16
            According to the Nevada Department of Corrections inmate database, Plaintiff is
17
     no longer incarcerated by the Nevada Department of Corrections. Plaintiff has not filed
18
     an updated address notification with the Court. The Court notes that pursuant to Nevada
19
     Local Rule of Practice IA 3-1, a “pro se party must immediately file with the court written
20
     notification of any change of mailing address, email address, telephone number, or
21
     facsimile number. The notification must include proof of service on each opposing party
22
     or the party’s attorney. Failure to comply with this rule may result in the dismissal of the
23
     action, entry of default judgment, or other sanctions as deemed appropriate by the court.”
24
     Nev. Loc. R. IA 3-1. The Court grants Plaintiff thirty (30) days from the date of entry of
25
     this order to file his updated address with this Court. If Plaintiff does not update the Court
26
     with his current address within thirty (30) days from the date of entry of this order, this
27
     case will be subject to dismissal without prejudice.
28
                                                       1
1
            Plaintiff previously filed an application to proceed in forma pauperis for prisoners.
2
     (ECF No. 1). Plaintiff is required to either pay the filing fee or submit an application to
3
     proceed in forma pauperis by a non-prisoner. The Court now directs Plaintiff to file an
4
     application to proceed in forma pauperis by a non-prisoner within thirty (30) days from the
5
     date of this order or pay the full filing fee of $400. The Court will not issue a screening
6
     order in this case until the matter of the payment of the filing fee is resolved.
7
     II.    CONCLUSION
8
            For the foregoing reasons, IT IS ORDERED that Plaintiff shall file his updated
9
     address with the Court within thirty (30) days from the date of this order. If Plaintiff fails
10
     to timely comply with this order, this case will be subject to dismissal without prejudice.
11
            IT IS FURTHER ORDERED that Plaintiff’s application to proceed in forma pauperis
12
     for prisoners (ECF No. 1) is DENIED as moot.
13
            IT IS FURTHER ORDERED that the Clerk of the Court SHALL SEND Plaintiff the
14
     approved form application to proceed in forma pauperis by a non-prisoner, as well as the
15
     document entitled information and instructions for filing an in forma pauperis application.
16
            IT IS FURTHER ORDERED that within thirty (30) days from the date of this order,
17
     Plaintiff shall either: (1) file a fully complete application to proceed in forma pauperis for
18
     non-prisoners; or (2) pay the full filing fee of $400. If Plaintiff does not timely comply with
19
     this order, this case will be subject to dismissal without prejudice.
20

21
            DATED THIS 23rd day of June                2021.
22

23                                              UNITED STATES MAGISTRATE JUDGE

24

25

26
27

28
                                                   2
